        Case 1:23-cv-02627-LMM Document 12 Filed 11/13/23 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


MORGAN HOWARTH,                          :
                                         :
                                         :
       Plaintiff,                        :
                                         :
v.                                       :         CIVIL ACTION NO.
                                         :         1:23-cv-02627-LMM
                                         :
SAM RAMIS, formerly known as             :
Saeid Beyrami,                           :
                                         :
                                         :
       Defendant.                        :

                                     ORDER

      This case comes before the Court on Plaintiff’s Motion for Alternative

Service or Extension of Time to Serve Defendant. Dkt. No. [11]. On the present

record, the Court is not persuaded that the alternative means of service Plaintiff

proposes would reasonably ensure effective service of process. Consequently, the

Motion for Alternative Service is DENIED, and the Court GRANTS the

alternative Motion for Extension of Time to serve Defendant. The service period

is hereby EXTENDED through May 13, 2024, so that Plaintiff may attempt

service of process via the Hague Convention.

      IT IS SO ORDERED this 13th day of November, 2023.


                                      _____________________________
                                      Leigh Martin May
                                      United States District Judge
                                       LEIGH MARTIN MAY
                                       UNITED STATES DISTRJCT JUD
